                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               WESTERN DIVISION
                                 No. 5:18-cv-00320


 ATLANTIC COAST PIPELINE, LLC,

                               Plaintiff,

        v.

 5.038 ACRES, MORE OR LESS, IN
 WILSON COUNTY, NORTH CAROLINA,
 LOCATED ON PARCEL IDENTIFICATION
 NO. 2761-82-0719.000, AND IDENTIFIED
 IN BOOK 208, PAGE 296, LESS AND
 EXCEPT A CERTAIN TRACT
 CONTAINING 42.1 ACRES, MORE OR
 LESS, AS DESCRIBED IN BOOK 208,
 PAGE 593, LESS AND EXCEPT A
                                                         COMPLAINT IN CONDEMNATION
 CERTAIN TRACT CONTAINING 47.7
 ACRES, MORE OR LESS, AS DESCRIBED
                                                         15 U.S.C. § 717f(h); Fed. R. Civ. P. 71.1
 IN BOOK 214, PAGE 152,

        and

 DORIS B. BARNES
 23 Stillhouse Road SE
 Atlanta, GA 30339,

        and

 LINDA BARNES CATER
 23 Stillhouse Road SE
 Atlanta, GA 30339,

                               Defendants.



                                       Nature of the Case

       1.      Plaintiff Atlantic Coast Pipeline, LLC (“Atlantic”), pursuant to its power of eminent

domain as authorized by Section 7(h) of the Natural Gas Act, 15 U.S.C. § 717f(h), and Federal




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Rule of Civil Procedure 71.1, files this action for (i) the taking of certain interests in real property;

(ii) if later requested, immediate possession of the easements described herein; and (iii) the

ascertainment and award of just compensation to the owners of interest in real property, Doris B.

Barnes and Linda Barnes Cater, and any other interested parties (collectively, the “Owners”).

                                       Jurisdiction and Venue

        2.      This Court has original jurisdiction in this matter pursuant to 28 U.S.C. § 1331 and

Section 7(h) of the Natural Gas Act, 15 U.S.C. § 717f(h), because: (a) Atlantic is the holder of a

certificate of public convenience and necessity issued by the Federal Energy Regulatory

Commission (“FERC”) for the construction of an interstate natural gas pipeline that crosses West

Virginia, Virginia, and North Carolina; (b) Atlantic, despite negotiation efforts, has been unable

to acquire by contract, or has been unable to agree with the Owners as to the compensation to be

paid for, the necessary easements to construct, operate, and maintain a pipeline for the

transportation of natural gas; and (c) the amount claimed by the Owners exceeds $3,000.

        3.      Venue is proper pursuant to 28 U.S.C. § 1391(b)(2) because the interests in the real

property that Atlantic seeks to condemn are located within the Eastern District of North Carolina.

                                                Parties

        4.      Atlantic is a Delaware limited liability company with its principal office located at

120 Tredegar Street, Richmond, Virginia 23219. Atlantic is an interstate natural gas company as

defined by the Natural Gas Act, 15 U.S.C. § 717a(6), and, as such, is authorized to construct, own,

operate, and maintain pipelines for the transportation of natural gas in interstate commerce.

Atlantic’s transportation of natural gas in interstate commerce is subject to the jurisdiction and

approval of FERC.




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       5.      Doris B. Barnes has a life estate in and Linda Barnes Cater has a remainder interest

in that certain tract of land identified as Parcel Identification No. 2761-82-0719.000, composed of

41.00 acres, more or less, being more particularly described as 146.5 acres, more or less in Book

208, Page 296, of the public records of said County, less and except a certain tract containing 42.1

acres, more or less, as described in Book 208, Page 593 of the public records, less and except a

certain tract containing 47.7 acres, more or less, as described in Book 214, Page 152 of the public

records of said County (the “Property”). The Property is depicted in Exhibit 1.

       6.      There may be other persons who claim an interest in the property to be condemned

whose names are currently unknown to Atlantic because they could not be ascertained by a diligent

inquiry. These persons will be made parties to this action as permitted by Federal Rule of Civil

Procedure 71.1(c)(3).

                                               Facts

       7.      Atlantic is in the process of constructing an approximately 600-mile underground

pipeline and related facilities for the purpose of transporting natural gas from West Virginia to

Virginia and North Carolina (the “ACP Project”).

       8.      The ACP Project will measure approximately 42 inches in diameter in West

Virginia and Virginia, and 36 inches in diameter in North Carolina. Certain extensions of the ACP

Project will measure 20 inches in diameter from Northampton County, North Carolina to the City

of Chesapeake, Virginia and 16 inches in diameter in Brunswick County, Virginia and Greensville

County, Virginia.

       9.      Natural gas transported by the ACP Project will serve multiple public utilities and

is necessary to satisfy the growing energy needs of consumers in Virginia and North Carolina.




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        10.     Atlantic filed an application for a certificate of public convenience and necessity

with FERC on September 18, 2015, FERC Docket No. CP15-554-000, in which it sought

permission to construct the ACP Project and attendant facilities. On October 13, 2017, FERC

issued a certificate of public convenience and necessity (the “FERC Certificate”) authorizing

Atlantic to construct and operate the ACP Project. A copy of the FERC Certificate is attached as

Exhibit 2.

        11.     FERC found that the ACP Project will “primarily serve natural gas demand in

Virginia and North Carolina.” See Ex. 2, at 35, ¶ 79.

        12.     FERC also found that the “public at large will benefit from increased reliability of

natural gas supplies.” See Ex. 2, at 35, ¶ 79.

        13.     As a result, the ACP Project “serves a ‘public use’” as determined by FERC. See

Ex. 2, at 34, ¶ 79.

        14.     Atlantic must begin construction of the ACP Project as soon as possible to ensure

completion within FERC’s deadline. See Ex. 2.

        15.     The FERC-approved route of the ACP Project crosses the Property. A map

depicting the route of the ACP Project is attached as Exhibit 3.

        16.     Atlantic seeks to construct a portion of the ACP Project on the Property. The ACP

Project cannot be constructed until Atlantic acquires certain permanent easements (the “Permanent

Easements”) and temporary easements (the “Temporary Easements (collectively the “Easements”)

on the Property. The Easements are necessary for constructing, maintaining, operating, altering,

testing, replacing, and repairing the ACP Project.

        17.     A plat depicting the size and nature of the Easements and the ACP Project’s route

across the Property is attached hereto as Exhibit 4.




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       18.     The Permanent Easements to be taken on the Property include a permanent and

exclusive easement and right-of-way to construct, operate, maintain, replace, repair, remove or

abandon the ACP Project and appurtenant equipment and facilities, as well as the right to change

the location of the installed pipeline within the area of the Permanent Easement as may be

necessary or advisable.

       19.     The Temporary Easements will enable Atlantic to construct the ACP Project and

engage in restoration or clean-up activities. The Temporary Easements are requested as of the date

of authorized entry onto the Property and their use is required until all work, including restoration,

is complete. The Temporary Easements will be effective and condemned for a period not to exceed

five (5) years following Atlantic’s possession of the Easements.

       20.     Atlantic also seeks to acquire the right of ingress and egress to and from and through

the Easements; the right to transport pipe, vehicles, machinery, persons, equipment, or other

materials to and from and through the Easements, and the right of access through any existing

roads on the Property.

       21.     Atlantic also seeks the right to fell trees and clear brush or other vegetation as

necessary or convenient for the safe and efficient construction, operation, or maintenance of the

ACP Project or to maintain safe and efficient access to and from the ACP Project.

       22.     The Owners shall retain the right to use the Property in any manner that will not

interfere with the use and enjoyment of Atlantic’s rights under the Easements. Specifically, the

Owners shall not, without the prior written consent of Atlantic: (a) change the depth of cover or

otherwise undertake earthmoving or construction within the Permanent Easements; (b) place or

permit to be placed any temporary or permanent structure or obstruction of any kind, including but

not limited to buildings, swimming pools, sheds, concrete pads, mobile homes, trees, telephone or




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electric poles, water or sewer lines, or similar structures, within the Permanent Easements; (c) store

or operate any heavy equipment in the Permanent Easements, except the use of typical farming

equipment; and (d) construct ponds or lakes in a manner that would flood the Permanent

Easements.

       23.     Atlantic has negotiated with the Owners and has made several efforts to acquire the

Easements by contract.

       24.     Atlantic began negotiations with the Owners in December 2015. Specifically, on

December 4, 2015, an agent of Atlantic (the “First Agent”) spoke with Owner Cater regarding the

acquisition of certain easements for the ACP Project. In addition, Atlantic sent the Owner a letter

containing an initial offer and a proposed easement agreement.

       25.     In February 2016, Atlantic attempted to continue negotiations with the Owners, but

an agent of Atlantic (the “Second Agent”) was informed that the Owners did not want to negotiate.

       26.     Throughout 2016, another Atlantic agent (the “Third Agent”) further attempted to

continue negotiations with the Owners by calling and leaving messages in March, May, June, July,

August and September.

       27.     In March and April 2017, another agent of Atlantic (the “Fourth Agent”), contacted

the Owners numerous times by telephone, electronic mail and federal express in an attempt to

continue negotiations.

       28.     Throughout the remainder of 2017, Atlantic’s Fourth Agent continued to attempt

negotiations with the Owners by leaving voice mails and sending emails.              Specifically, in

September 2017, Atlantic provided a revised proposed easement agreement to Owner Cater via

electronic mail.




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       29.       Until January 25, 2018, when the Fourth Agent received a voicemail from the

Owners’ newly retained counsel, Atlantic continued to attempt to contact the Owners by telephone

and electronic mail to continue negotiations.

       30.       On June 6, 2018, Atlantic sent Owners’ counsel a letter with a final offer, along

with a copy of the plat attached hereto as Exhibit 4.

       31.       Atlantic then sent Owners another letter with a final offer dated June 19, 2018,

along with a copy of the plat attached hereto as Exhibit 4.

       32.       Atlantic, through counsel, has continued to negotiate with the Owners, through

counsel, regarding the easement acquisition and the final offer letter and its accompanying plat,

but the parties have been unable to reach an agreement.

       33.       To date, Atlantic and the Owners have been unable to agree on the compensation

to be paid and the terms of the Easements. The Owners have not provided Atlantic with a

counteroffer. Thus, despite these negotiations, Atlantic has been unable to acquire the Easements

by contract.

       34.       Pursuant to the authority granted to Atlantic by Congress in Section 7(h) of the

Natural Gas Act, 15 U.S.C. § 717f(h), Atlantic now seeks to take by eminent domain the Easements

over the Property as depicted herein and in Exhibit 4.

       WHEREFORE, Atlantic respectfully requests that this Court:

       A.        Enter an Order of Judgment of Taking by Eminent Domain as to the Easements as

described herein;

       B.        If later requested, grant Atlantic immediate possession of the Easements in the form

of a preliminary injunction prior to the determination of just compensation upon deposit with the




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Court of a sum of money representing the value of such Easements as determined by Atlantic’s

appraisal or land rights valuation analysis;

       C.      Ascertain and award just compensation to the Owners for the taking of the

Permanent Easements;

       D.      Ascertain and award just compensation to the Owners for the taking of the

Temporary Easements; and

       E.      Grant such other relief as may be just and proper.

       This the 29th day of June, 2018.
                                               /s/ Henry L. Kitchin, Jr.
                                               Henry L. Kitchin, Jr.
                                               N.C. State Bar No. 23226
                                               MCGUIREWOODS LLP
                                               Post Office Box 599 (28402)
                                               Wilmington, North Carolina 28401
                                               Telephone: (910) 254-3800
                                               Facsimile: (910) 254-3900
                                               Email:       hkitchin@mcguirewoods.com
                                               Dhamian A. Blue
                                               N.C. State Bar No. 31405
                                               Blue LLP
                                               205 Fayetteville Street
                                               Raleigh, North Carolina 27601
                                               Telephone: (919) 833-1931
                                               Facsimile: (919) 833-8009
                                               Email:      dab@bluellp.com
                                               Of Counsel:
                                               John D. Wilburn
                                               Email: jwilburn@mcguirewoods.com
                                               Richard D. Holzheimer, Jr.
                                               Email: rholzheimer@mcguirewoods.com
                                               McGuireWoods LLP
                                               1750 Tysons Boulevard, Suite 1800
                                               Tysons, Virginia 22102
                                               Telephone:    (703) 712-5000
                                               Facsimile:    (703) 712-5050

                                               Counsel for Atlantic Coast Pipeline, LLC



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